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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                         CASE NO. 8:01-CR-212-T-EAK-TGW


JOSE MURILLO KACHINBO
                                            /

                                                 ORDER


        This cause comes before the Court on the defendant’s motion for reduction of sentence, the
requested modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Doc. 304). The Court also has before it the U.S. Probation Office Amendment Assessment
(Doc. 301) and the government’s response (Doc. 307). The Court has reviewed the motion and the
Amendment Assessment for the United States Probation Office. The Court concludes that the defendant
is not eligible for a reduction in sentence based on the amended guidelines and adopts their position that
the defendant is not eligible for a reduction in sentence because Amendment 782 does not have an effect
of lowering the defendant’s guideline range.    Accordingly, it is.


        ORDERED that defendant’s motion for modification of sentence be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 6th day of

October, 2015.




Copies furnished to: All Counsel of Record
